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 5    Attorneys for:   Plaintiff Kimberly Barsamian
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 9                                   UNITED STATES DISTRICT COURT
10                                  EASTERN DISTRICT OF CALIFORNIA
11
12    KIMBERLY BARSAMIAN,                                   Case No. 1:07-cv-00316 OWW/GSA_
13
14                     Plaintiff,                           ORDER RE: PLAINTIFF
                                                            KIMBERLY BARSAMIAN’S
15                                                          MOTION IN LIMINE NUMBER 1
              v.                                            TO EXCLUDE ALL WITNESSES
16
                                                            FROM THE COURTROOM
17                                                          PURSUANT TO FEDERAL RULE
      CITY OF KINGSBURG, MARTIN                             OF EVIDENCE, RULE 615
18    SOLIS, individually and in his official
      capacity as a Police Officer for the City of
19    Kingsburg Police Department, and DOES
      1 through 100, inclusive.                             Trial Date: March 3, 2009
20
                                                            Time: 9:00 AM
21                     Defendants.                          Ctrm: 3
22
23            The Motion in Limine of Plaintiff Kimberly Barsamian, to Exclude All Witnesses from
      the Courtroom Pursuant to Federal Rule of Evidence, Rule 615, came on hearing before this
24
      Court, Attorney Peter N. Kapetan, appearing for Plaintiff, Kimberly Barsamian; Attorney
25
      Alfred A. Gallegos, appearing for Defendant City of Kingsburg; and Attorney Karen L. Lynch,
26
      appearing for Defendant Martin Solis.
27
              After consideration of the briefs and arguments of counsel, and all to the Court,
28
                                                      1
        ORDER RE: PLAINTIFF KIMBERLY BARSAMIAN’S MOTION IN LIMINE NUMBER 1 TO EXCLUDE ALL WITNESSES FROM
                          THE COURTROOM PURSUANT TO FEDERAL RULE OF EVIDENCE, RULE 615
     Case 1:07-cv-00316-OWW-GSA Document 186 Filed 03/03/09 Page 2 of 2


             IT IS HEREBY ORDERED that Plaintiff’s Motion in Limine to Exclude All Witnesses
 1
      from the Courtroom Pursuant to Federal Rule of Evidence, Rule 615 is GRANTED.
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      DATED: 3/2/2009
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                           ________/s/ OLIVER W. WANGER__________
 7                         UNITED STATES DISTRICT COURT JUDGE
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                                                      2
        ORDER RE: PLAINTIFF KIMBERLY BARSAMIAN’S MOTION IN LIMINE NUMBER 1 TO EXCLUDE ALL WITNESSES FROM
                          THE COURTROOM PURSUANT TO FEDERAL RULE OF EVIDENCE, RULE 615
